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3 m United States District Court
ee Middle District of Florida
Orlando Division

Case No.
6:23-cv-2043-PGB-RMN
Frank v. Fine

Motion to Compel Defendant to Respond

Plaintiff sent his written response to the initial report and recommendation
by the Magistrate via certified U.S. Mail and it was not placed on the record.
Plaintiff initially requested an additional 60 days due to outside consequences of
Defendant Fine’s conspiring (friends in jail for literature distribution). Unless an
error was made on the U.S Mail green card; Plaintiff generally uses certified mail
return receipt requested. Plaintiff has shown three critical components towards this
lawsuit. Plaintiff has a sworn affidavit of criminal complaint, evidence, and now
cause showing damages. Plaintiff has also served Defendant Fine a complete copy
of the original complaint with evidence packets and an offer to contract demanding
a response from Defendant Fine within 30 days or a written request for an

additional 30 days. (Attachment A1.)

Plaintiff has not received any written response from Defendant and has not
seen any response placed upon the record from Defendant. Plaintiff now demands
that this lawsuit be heard without dismissal or any further orders until a response is
placed upon the record by Defendant. It is not this court’s duty to shield Defendant
Fine from his unlawful behavior. In fact, a Federal Oath of Office reads “I, __

___, do solemnly swear (or affirm) that I will administer justice without respect to
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persons, and do equal right to the poor and to the rich, and that I will faithfully

and impartially discharge and perform all the duties incumbent upon me as___
under the Constitution and laws of the United States. So help me God.” (28 US.
Code § 453 - Oaths of justices and judges).

The complaint, evidence, and cause show more than enough grounds to
initiate this requested order demanding Defendant’s response. It should not matter
the formatting of the complaint when all required components of a lawsuit are
present. Even an affidavit of criminal complaint filed on orange paper written in
yellow crayon if sworn under oath is still a criminal complaint and if unrebutted

must still stand as fact.

Plaintiff demands an order for response from Defendant.
